       Case 1:17-cv-07568-PGG-KHP Document 83 Filed 01/12/18 Page 1 of 25




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                             1/12/2018
MIMEDX GROUP, INC. and SEAN
MCCORMACK,

                                                Plaintiffs,          REPORT & RECOMMENDATION

-against-                                                            17-CV-07568 (PGG) (KHP)

SPARROW FUND MANAGEMENT LP,
A/K/A “AURELIUS VALUE”; VICEROY
RESEARCH; JOHN FICHTHORN; BR
DIALECTIC CAPITAL MANAGEMENT,
LLC; AND DOES 1-10, INCLUSIVE,

                                                 Defendants.
-----------------------------------------------------------------X

TO: HONORABLE PAUL G. GARDEPHE, UNITED STATES DISTRICT JUDGE

FROM: KATHARINE H. PARKER, UNITED STATES MAGISTRATE JUDGE

         Plaintiffs MiMedx Group, Inc. (“MiMedx”) and Sean McCormack bring this action against

Defendants Sparrow Fund Management LP (“Sparrow”), a/k/a “Aurelius Value,” John Fichthorn,

BR Dialectic Capital Management, LLC (“BR Dialectic”), Viceroy Research (“Viceroy”), and Does

1-10 asserting claims of defamation, false light and tortious interference with business

relations. The claims against Sparrow arise from statements made online by “Aurelius Value”

that allegedly were false, misleading and defamatory about MiMedx. Plaintiffs believe

Defendant Sparrow is the author of the website “Aurelius Value.” The claims against Viceroy

arise from statements made online and in Tweets by Viceroy that allegedly were false,

misleading and defamatory about MiMedx and McCormack. Plaintiffs do not know who the

author of Viceroy is and have moved for emergency discovery from Defendants Sparrow,

Fichthorn and BR Dialectic to identify Viceroy so that it can be served with a copy of the
     Case 1:17-cv-07568-PGG-KHP Document 83 Filed 01/12/18 Page 2 of 25




Complaint in this matter (Docket No. 14). Finally, the claims against Fichthorn and BR Dialectic

arise from allegedly defamatory statements about MiMedx made by Defendant Fichthorn to a

major shareholder of MiMedx who sold his stock after the conversation with Fichthorn.

       Defendant Sparrow denies knowledge of the identity of Viceroy and, thus, opposes the

motion for expedited discovery. Ficthorn and BR Dialectic also oppose expedited discovery and

deny sufficient knowledge of Viceroy to allow Plaintiffs to effectuate service of process.

Defendants Sparrow, Ficthorn and BR Dialectic also have moved to dismiss the Complaint as

against them (Docket Nos. 33 and 38).

       For the reasons set forth below, this Court recommends that the Motions to Dismiss be

GRANTED and that the Motion for Expedited Discovery be GRANTED in part and DENIED in part.

                                          BACKGROUND

       MiMedx is a publicly traded company that manufactures and sells biomaterial medical

products. It claims that its stock has been wrongfully manipulated by short sellers who are

defaming it on the internet, causing substantial loss to the company and its shareholders.

McCormack is an employee of MiMedx who claims he also has been defamed on the internet

and, as a result, suffered reputational harm.

       Sparrow is a hedge fund manager and/or investment advisory firm that Plaintiffs claim

operates a website under the pseudonym “Aurelius Value” on which it publishes research about

publicly-traded companies in which it has a financial interest, and specifically short positions.

Sparrow denies that it operates “Aurelius Value.”




                                                 2
     Case 1:17-cv-07568-PGG-KHP Document 83 Filed 01/12/18 Page 3 of 25




       According to Plaintiffs, Viceroy is an individual who operates a blog and Twitter account

on which he publishes research about publicly-traded companies in which he has a financial

interest, and specifically short positions. Plaintiffs do not know the name of the individual who

runs Viceroy because the blog does not provide the identity of the author or any contact

information.

       BR Dialectic Capital Management is a registered investment advisor that assists clients

with stock selection in the short portfolio. It is owned by Defendant Fichthorn. BR Dialectic has

an interest in short-selling MiMedx stock.

       According to MiMedx, on or about September 15, 2017, Fichthorn and BR Dialectic

defamed MiMedx by telling a major MiMedx shareholder that MiMedx was engaged in

fraudulent channel stuffing, stating that “this is definitely a revenue fraud situation” that would

“end up with some MiMedx employees being dragged away in handcuffs” and that it “could be

a jailable offense for the CEO.” According to MiMedx, during the call, Fichthorn stated that “in

December 2015 MiMedx stuffed over $10 million” of product, that certain MiMedx employees

instructed others “to stuff channel in 12/15,” and that one of MiMedx’s former employees has

a list of “120 [other] former employees” with knowledge of channel stuffing. Fichthorn

allegedly represented to the shareholder that he “talked to lots of Texas and Florida

distributors who stuff product for MiMedx.” MiMedx also claims that during the course of the

call, Fichthorn made several other false statements to the shareholder, including that someone

by the name of Bill McLaughlin is a paid consultant of MiMedx who has six different business

cards, that a company called Fuse Medical is a public distributor of MiMedx that is paying


                                                 3
     Case 1:17-cv-07568-PGG-KHP Document 83 Filed 01/12/18 Page 4 of 25




doctors in Fuse stock, and that forty doctors have shares in MiMedx and, thus, conflicts of

interest. Finally, MiMedx claims that Fichthorn suggested to the shareholder that his

knowledge was gained from the “founder” of a “local Atlanta law firm” whom he did not name.

According to MiMedx, Fichthorn’s goal was to cause the shareholder to sell his stock so that he

and BR Dialectic could profit from their short positions. MiMedx states that the shareholder in

fact sold approximately one million shares after the call, causing the share price to drop.

         MiMedx also asserts that on or about September 20, 2017, an unknown author hiding

behind the pseudonym “Aurelius Value” published a false and defamatory article about

MiMedx, also accusing MiMedx of channel stuffing, stating the accusations were corroborated

by a former sales employee. The article identified certain distributors of MiMedx and implied

that MiMedx used suspicious, small distributors to engage in channel stuffing and/or that

presented “channel stuffing and kickback risks.” The article contained other allegedly false or

misleading information including that MiMedx had an undisclosed agreement with another

company to sell MiMedx products under its own trademark and that MiMedx sells products

through physician-owned distributors. According to MiMedx, the article also misled readers as

to a communication between a MiMedx consultant and “an investigator from another investor”

insofar as it omitted the consultant’s statements that were supportive of MiMedx and refuted

allegations of channel stuffing. MiMedx claims, “[u]pon information and belief, Aurelius Value

is actually one or more of Sparrow’s partners or employees.” (Doc. No. 1, Complaint (“Compl.”)

¶ 36.)




                                                4
       Case 1:17-cv-07568-PGG-KHP Document 83 Filed 01/12/18 Page 5 of 25




        Finally, MiMedx and Plaintiff McCormack assert that since on or about September 20,

2017, Viceroy has published a number of articles and Tweets defaming them. Among other

things, they assert that Viceroy said the following false things:

   •    MiMedx hired employees from another company who had engaged in a
        kickback/bribery scheme at their former company;
   •    MiMedx hired Plaintiff McCormack because it knew of his history of involvement in
        kickback and bribery schemes at a former employer, stating that McCormack was an
        “instrumental figure” in the alleged kickback scheme at his former company, causing
        that company to incur substantial legal costs and dubbing McCormack the “$350-
        million-dollar-man”;
   •    McCormack “stood accused” of being involved in the kickback and bribery scheme and
        was “named” as a “key influence” in the scheme, as well as suggesting that McCormack
        “made false or fraudulent claims” for medical products and services to Medicare,
        Medicaid, and TRICARE programs from July 2008 to January 2011;
   •    “our findings on Sean McCormack show a historic pattern of behavior that has proven
        costly to the businesses he has been employed in”;
   •    It had “found evidence supporting [channel stuffing allegations] in MiMedx’s financial
        accounts” including an increase of expenses in sales staff that did “not correlate with
        specified increases in headcount and channel check wages by a factor of two”;
   •    “[a]llegations . . . suggest that a substantial portion of Selling General & Administrative
        growth is attributable to kickbacks and ‘sales incentives’ given to VA doctors and
        medical supply procurement officers”;
   •    It had “serious reservations as to whether MiMedx properly disclosed its employees’
        connections” with a company that had settled;
   •    There were pricing irregularities in invoices between MiMedx and a company called
        AvKARE that were an “attempt to conceal or draw attention away from [MiMedx’s]
        purchase orders”, and “bypass manual internal control checks at VA hospitals”, and that
        “we anticipate the VA will take action against MiMedx on the back of evidence
        contained in this report”;
   •    That MiMedx failed to “formally announce to the market that they are a subject of an
        SEC investigation”;
   •    MiMedx failed to remediate a “material weakness in internal controls,” rendering it an
        “audit risk”; and
   •    Suggesting that two lawsuits created concern about MiMedx and its CEO and impacted
        its value to investors.

(Compl. ¶¶ 49-75.)


                                                 5
        Case 1:17-cv-07568-PGG-KHP Document 83 Filed 01/12/18 Page 6 of 25




         MiMedx and McCormack also take issue with Viceroy suggesting that MiMedx should

have disclosed McCormack’s purported past wrongdoing to MiMedx investors through the

following statements, “[w]hile the case [involving McCormack’s former company] was settled

and implies no admission of guilt we question why MiMedx has not disclosed [McCormack’s]

employment to investors,” and “McCormack’s position at the company and past are a fact [sic]

MiMedx would like to keep to themselves.” They state that McCormack was not involved in

any wrongdoing or case with his prior company and thus not involved with any settlement.

They also take issue with Viceroy’s suggestion that MiMedx violated certain compliance

requirements as a government contractor by failing to disclose that it had hired employees

(including McCormack) from a company that had settled a lawsuit involving an alleged bribery

and kickback scheme and by backdating a certification.

         MiMedx claims that the Defendants conspired together to adversely manipulate its

stock price via all of the aforementioned statements. The factual bases for the alleged

conspiracy are that:

    •    the false allegations “closely track one another and in some instances are almost
         identical,” (Compl. ¶¶ 78-80); and
    •    “Viceroy and Aurelius both engaged in self-promotion and cross-promotional efforts
         online via” Twitter, (Compl. ¶ 81).

         MiMedx asserts claims of libel against Sparrow, Viceroy and all Doe Defendants, claims

of slander against Dialectic, Fichthorn and all Doe Defendants, and claims of defamation, false

light and tortious interference with business relations against all Defendants. McCormack

asserts claims of libel and defamation against Viceroy and all Doe Defendants.



                                                6
      Case 1:17-cv-07568-PGG-KHP Document 83 Filed 01/12/18 Page 7 of 25




        Sparrow Fund Management denies involvement in any of the alleged misconduct and

claims it has been incorrectly named in this suit. It has submitted an affidavit from Nathan

Koppikar, its Director of Research, stating that “Sparrow did not make any of the statements

attributed to it in the complaint,” that he has “not posted, or directed, or caused any writing to

be posted under the anonymous username ‘Aurelius Value,’” that “[n]o Sparrow partner or

employee has posted, or has directed, or has caused any writing to be posted under the

anonymous username ‘Aurelius Value,’” and that he does “not know the identity of the

individual or individuals who have posted under the anonymous username ‘Viceroy Research.’”

(Doc. No. 35-1 ¶¶ 6-10.) At oral argument before this Court, Sparrow’s counsel offered to

provide a similar affidavit from every Sparrow employee stating the same thing. For this

reason, it seeks dismissal of the claims against it on the grounds that MiMedx has an

insufficient factual basis to state a claim against it.

        Fichthorn and BR Dialectic do not deny the statements attributed to them (given that

they must be taken as true for purposes of a motion to dismiss), but argue that MiMedx fails to

state claims for defamation, slander, false light and tortious interference with business relations

as a matter of law.

                                          LEGAL STANDARD

        In considering a Rule 12(b)(6) motion, the Court must accept as true all factual

allegations set forth in the complaint and draw all reasonable inferences in favor of the plaintiff.

Swierkiewicz v. Sorema N.A., 534 U.S. 506, 508 (2002). The plaintiff need only plead “enough

facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S.


                                                    7
     Case 1:17-cv-07568-PGG-KHP Document 83 Filed 01/12/18 Page 8 of 25




544, 570 (2007). “While legal conclusions can provide the framework of a complaint, they must

be supported by factual allegations. When there are well-pleaded factual allegations, a court

should assume their veracity and then determine whether they plausibly give rise to an

entitlement to relief.” Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009).

       The Court may not consider affidavits and other evidence not otherwise incorporated by

reference in the complaint when determining a motion to dismiss. Fed. R. Civ. P. 12(d); Conradt

v. NBC Universal, Inc., 536 F. Supp.2d 380, 388 (S.D.N.Y. 2008).

                                           DISCUSSION

   1. Sparrow Fund Management’s Motion To Dismiss

       Sparrow seeks dismissal of MiMedx’s claims against it because it does not do business or

operate under the anonymous blogger name “Aurelius Value” and the complaint fails to state

sufficient facts rendering it plausible that Sparrow engaged in any of the alleged misconduct.

       It is well established that a complaint cannot survive a motion to dismiss if “it tenders

naked assertions devoid of further factual enhancement.” Ashcroft, 556 U.S. at 678 (2009)

(internal quotation marks and citations omitted). In the Second Circuit, there are limited

circumstances where claims based on information and belief can survive a motion to dismiss.

These include where the facts are solely within the possession and control of the defendant or

where the allegation is “based on factual information that makes the inference of culpability

plausible.” Arista Records, LLC v. Doe 3, 604 F.3d 110, 120 (2d Cir. 2010). In cases where a

plaintiff claims that the defendant uses an alias, courts require factual support for the asserted

connection between the alias and the defendant. Thompson v. KeyBank USA N.A. applies a


                                                 8
       Case 1:17-cv-07568-PGG-KHP Document 83 Filed 01/12/18 Page 9 of 25




similar logic. No. 09-cv-4054 (DRH)(AKT), 2010 WL 4961674 (E.D.N.Y. Dec. 1, 2010) (dismissing

claim that defendant was using a false name to “indicate that a third person is collecting or

attempting to collect . . . debts” on defendant’s behalf because “[n]o specific facts [we]re

alleged to support this assertion”).

         Here, Plaintiffs offer no factual support whatsoever for their belief that Sparrow is

Aurelius Value. Nor have they offered any factual basis for their belief that Sparrow knows the

identity of persons responsible for publishing Aurelius Value. For example, Plaintiffs do not

assert that they have any person or informant that has stated there is a connection between

the two entities. They do not assert that they have any forensic research connecting the

internet address of Aurelius Value to Sparrow or any Sparrow employee. They do not identify

in the Complaint any particular employee of Sparrow that is known to blog about MiMedx and

reference postings by Aurelius Value. Moreover, as recently as November 2017, after the

Complaint against Sparrow was filed, MiMedx conceded that it does not know the true identity

of Aurelius Value and “is still in the process of perfecting its case against . . . two hidden

entities.” (Doc. No. 56, Crisp Decl., Ex. B (Ltr. from P. Petit to B. Fields (Nov. 1, 2017)) & Ex C

(MiMedx Press Release (Nov. 8, 2017)).) 1 The Court also notes that at least one other court has



1
  Although these exhibits are not part of the complaint, Federal Rule of Evidence 201(b) permits a court to take
judicial notice of facts that are “not subject to reasonable dispute,” Fed. R. Evid. 201(b), and courts in the Second
Circuit routinely do so at the motion to dismiss stage. See, e.g., Quick Cash of Westchester Ave. LLC v. Vill. of Port
Chester, No. 11-cv-5608, 2013 WL 135216, at *4 (S.D.N.Y. Jan. 10, 2013) (taking judicial notice of public documents
on the internet and stating “it is well established that courts may take judicial notice of publicly available
documents on a motion to dismiss” (internal citations omitted)); Cunningham v. Cornell Univ., No. 16-cv-6525
(PKC), 2017 WL 4358769, at *4 (S.D.N.Y. Sept. 29, 2017) (“Courts may [ ] take judicial notice of information
contained on websites where the authenticity of the site has not been questioned.” (internal quotation marks and
citations omitted)).

                                                          9
     Case 1:17-cv-07568-PGG-KHP Document 83 Filed 01/12/18 Page 10 of 25




rejected an attempt to unmask Aurelius Value, suggesting that MiMedx really has no idea who

is running Aurelius Value. See Aurelius v. BofI Fed. Bank, No. MC 16-71 DSF (FFM), 2016 WL

8925145, at *3-6 (C.D. Cal. Sept. 20, 2016) (granting motion to quash and holding that

“innuendo” and allegations of coordination based on the “timing” of certain events and

statements, without more, did not justify BofI’s attempt to unmask Aurelius).

       J’accuse is not enough to satisfy the pleading standard under Iqbal. Plaintiffs have failed

to provide a sufficient factual basis to render it plausible that Sparrow is responsible for the

conduct of Aurelius Value. Thus, all the claims against Sparrow must be dismissed. However,

dismissal should be without prejudice in the event Plaintiffs have or can in the future plead

sufficient facts to plausibly support Sparrow’s involvement in the alleged wrongdoing and that

Sparrow is Aurelius Value.

   2. Fichthorn And BR Dialectic’s Motion To Dismiss

       Fichthorn and BR Dialectic contend that Plaintiffs have failed to state any viable claims

against them. The Court addresses the slander and defamation allegations first, and then

addresses the claims for false light and tortious interference with business relations.

       A. Defamation And Slander

       Black’s Law Dictionary states that “Defamation” is “[m]alicious or groundless harm to

the reputation or good name of another by the making of a false statement to a third person.”

Defamation consists of the twin torts of libel and slander. Albert v. Loksen, 239 F.3d 256, 265

(2d Cir. 2001). Libel is written defamation, whereas slander is oral defamation. For defamation

to be actionable, a plaintiff must prove that the defendant made a false and defamatory


                                                 10
      Case 1:17-cv-07568-PGG-KHP Document 83 Filed 01/12/18 Page 11 of 25




statement of fact about the plaintiff to a third party, not otherwise protected by privilege,

causing special harm or constituting slander per se. 2 Id. at 265-66.

         When the plaintiff is a public figure, such as a public company, the plaintiff must

demonstrate that the defendant acted with “actual malice” in connection with the defamatory

statements. New York Times Co. v. Sullivan, 376 U.S. 254 (1964); see also Reliance Insurance Co.

v. Barron’s, 442 F. Supp. 1341, 1346 (S.D.N.Y. 1977) (public company found to be public figure).

At the motion to dismiss stage, the pleading of “actual malice” must be plausible and supported

by factual allegations. Biro v. Conde Nast, 963 F. Supp. 2d 255, 278-79 (S.D.N.Y. 2013).

         Statements of opinion are never actionable. Celle v. Filipinio Reporter Enters Inc., 209

F.3d 163 (2d Cir. 2000); DG & A Mgmt. Servs., LLC v. Sec. Indus. Ass'n Compliance & Legal Div.,

859 N.Y.S.2d 305, 307 ( 3d Dep’t 2008) (statements that are “merely reflective of [a

defendant’s] unfavorable opinion” do not amount to slander per se). It also is well established

that “[l]oose, figurative or hyperbolic statements, even if deprecating the plaintiff, are not

actionable.” Dillon v. City of New York, 704 N.Y.S.2d 1, 5 (1st Dept. 1999). Whether a particular

statement expresses fact or opinion is a question of law for the court. Steinhilber v. Alphonse,

501 N.E.2d 550, 553 (N.Y. 1986). When assessing a statement to determine whether it is fact or

opinion, the court must look at the content of the communication as a whole, its tone and

apparent purpose. Immuno AG v. Moor-Jankowski, 567 N.E.2d 1270, 1281 (N.Y. 1991). In



2
  Defamation per se is when a statement “affect[s] a person in his or her profession by imputing to him or her any
kind of fraud, dishonesty, misconduct, incapacity, unfitness, or want of any necessary qualification in the exercise
of one’s profession.” Jean- Joseph v. Walgreens, Inc., No. 10-cv-4635 (SLT)(VVP), 2011 WL 5025266, at *4 (E.D.N.Y.
Oct. 21, 2011) (citing Ram v. Moritt, 205 A.D.2d 516, 517 (1994)). Statements which allege that a person has
engaged in illegal activity constitute defamation per se. Geraci v. Probst, 938 N.E.2d 917, 922 (N.Y. 2010).
                                                          11
     Case 1:17-cv-07568-PGG-KHP Document 83 Filed 01/12/18 Page 12 of 25




making its assessment, the court considers four factors: “(1) whether the statement at issue has

a precise meaning so as to give rise to clear factual implications, (2) the degree to which the

statements are verifiable, i.e., objectively capable of proof or disproof, (3) whether the full

context of the communication in which the statement appears signals to the reader its nature

as opinion, and (4) whether the broader context of the communication so signals the reader.”

Sandals Resorts Intern. Ltd. v. Google, Inc., 86 A.D.3d 32, 39–40 (1st Dep’t 2011) (internal

quotation marks and citations omitted).

       A review of the alleged statements made by Fichthorn demonstrate that they are

opinions and predictions—not statements of fact. They were made in the course of a one-on-

one conversation between two sophisticated investors, one an investment advisor and known

short-seller, and the other a person who owned at least one million shares of MiMedx. The

context of the conversation, as described by MiMedx, concerned allegations leveled by

MiMedx’s former employees in a lawsuit against MiMedx—a public company—and included

Fichthorn’s opinions about the allegations and predictions about possible outcomes of the

investigation and claims. MiMedx’s focus on Fichthorn’s alleged statements regarding the

possibility of criminal liability does not advance its claim of defamation in the context of the

conversation. For example, to the extent “Fichthorn represented to the shareholder with no

hesitation that ‘this is definitely a revenue fraud situation,’ that the practices he described

‘could be a jailable offense for the CEO,’ and that ‘this situation will end up with some MiMedx

employees being dragged away in handcuffs,’” (Compl. ¶ 25), such isolated statements are

exactly the type of “loose, figurative or hyperbolic statements, [that], even if deprecating the


                                                 12
     Case 1:17-cv-07568-PGG-KHP Document 83 Filed 01/12/18 Page 13 of 25




plaintiff, are not actionable.” Dillon, 704 N.Y.S.2d at 5; see also Jacobus v. Trump, 51 N.Y.S.3d

330, 336 (N.Y. Sup. Ct. Jan. 9, 2017); Adelson v. Harris, 973 F. Supp. 2d 467, 487-88 (S.D.N.Y.

2013). Any reasonable person listening to such hyperbolic language would realize that

Fichthorn had no way of predicting future events (such as the hypothetical arrests of MiMedx

employees), and that Fichthorn’s alleged language (this “could be a jailable offense”) expressed

conditional possibility, not factual certainty. Immuno AG v. Moor-Jankowski, 549 N.E.2d 129,

134 (N.Y. 1989), reaffirmed after remand by 567 N.E.2d 1270 (1991) (“Speculations as to the . . .

potential future consequences of proposed conduct generally are not readily verifiable, and are

therefore intrinsically unsuited as a foundation for libel.”).

       Other alleged comments, including that the company’s investigation into the “channel

stuffing” allegations was “biased,” “inadequate,” and “tainted,” (Compl. ¶¶ 32-33), are

inherently unverifiable expressions of opinion. Adelson v. Harris, 774 F.3d 803, 807 (2d Cir.

2014) (“[C]haracterization of Adelson’s money as ‘dirty’ and ‘tainted’ is the sort of . . .

unfalsifiable opinion protected by the First Amendment.”).

       Indeed, New York courts have found that statements of the type Fichthorn is accused of

making concerning a public company are pure opinion and not actionable. See, e.g.,

Nanoviricides v. Seeking Alpha, No. 151908/2014, 2014 WL 2930753 at *1 (N.Y. Sup. Ct. N.Y.

Cty. June 26, 2014) (denying pre-complaint discovery, article containing negative statements

about public company was “pure opinion”); Silvercorp Metals Inc. v. Anthion Mgmt. LLC, 23

Misc.3d 1231(a), 2012 WL 3569952, at *1 (N.Y. Sup. Ct. N.Y. Cty. Aug. 16, 2012) (allegedly

defamatory statements made as part of scheme to drive down stock price and profit from short


                                                  13
     Case 1:17-cv-07568-PGG-KHP Document 83 Filed 01/12/18 Page 14 of 25




positions were deemed to be nonactionable expressions of opinion; rejecting early discovery);

Deer Consumer Prods, Inc. v. Little Grp., No. 650823/2011, 2012 WL 5983641, at *1 (N.Y. Sup.

Ct. N.Y. Cty. Nov. 29, 2012) (same); BofI Fed. Bank v. Seeking Alpha, Inc., (S.D.N.Y Feb. 9, 2016)

(16-MC-00025), 2016 WL 3145860 (short seller’s post involved “core noncommercial speech”

and “clearly involves speech on matters of public interest” and was not actionable defamation);

Jian Zhang v. Baidu.com Inc., 10 F. Supp. 3d 433, 443 (S.D.N.Y. 2014) (speech with some

commercial aspects is not “commercial speech” when the statements “relate to matters of

public concern and do not themselves propose transactions”). Cf. Fotochrome, Inc. v. New York

Herald Tribune, Inc., 305 N.Y.S.2d 168, 170–72 (N.Y. Sup. Ct. 1969) (reasoning that defamation

law cannot be used to deter “would-be critics” from voicing their criticism as there is “a need

for information concerning, the stock market in general or the successes, failures or

manipulations of specific corporations in which thousands of people have invested their

personal fortunes”).

       To the extent that MiMedx claims it has been defamed by implication or defamed

because the claimed opinions rest upon undisclosed facts, it is also mistaken. MiMedx’s

Complaint expressly alleges that “Fichthorn’s talking points” were “drawn from” former

employees’ allegations in various court pleadings alleging “that MiMedx fired them in

retaliation for complaints about the company’s purported business practices, including alleged

‘channel stuffing.’” (Compl. ¶¶ 5, 25.) See, e.g., Deer Consumer Products, Inc., 2012 WL

5983641, at *20 (court found that statements about the plaintiff, who was subject to

government investigation, other legal proceedings, and discussion by the media were not


                                                14
     Case 1:17-cv-07568-PGG-KHP Document 83 Filed 01/12/18 Page 15 of 25




defamatory; the broader context in which the statements were made “require[d] the

conclusion that the challenged statements be treated as an expression of the writer’s views and

opinions”); Cummins v. Suntrust Capital Mkts., Inc., 649 F. Supp. 2d 224, 234–35 (S.D.N.Y. 2009)

(protected expression of opinion where defendant issued report accusing executives of stock

option abuses and stating that, “[a]t the end of the day, shareholders will have to decide

whether this management team and its board of directors have fulfilled their fiduciary duty. We

are currently hard pressed to reach such a conclusion”), aff’d, 416 F. App’x 101 (2d Cir. 2011).

       Furthermore, the Complaint fails to plead sufficient facts demonstrating that Fichthorn

acted with actual malice. Actual malice is the standard because MiMedx is a public company

and the subject matter of the discussion was a matter of public interest – an investigation and

lawsuit involving claims of channel stuffing and other wrongdoing by MiMedx. Under

applicable law, “a public-figure plaintiff must plead ‘plausible grounds’ to infer actual malice by

alleging ‘enough fact[s] to raise a reasonable expectation that discovery will reveal evidence of’

actual malice.” Biro v. Conde Nast, 807 F.3d 541, 546 (2d Cir. 2015) (quoting Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 556 (2007)); see also Adelson v. Harris, 973 F. Supp. 2d 467, 503

(S.D.N.Y. 2013) (“[T]he pleading standards under Iqbal and Twombly require courts to dismiss

defamation actions where the allegations in the complaint do not plausibly suggest actual

malice”). Moreover, because actual malice is a measure of the defendant’s attitude toward the

truth, not his attitude toward the plaintiff, allegations of a defendant’s bias or “hostility fail

plausibly to establish . . . actual malice.” Egiazaryan v. Zalmayev, No. 11-cv-2670 (PKC), 2011

WL 6097136, at *8 (S.D.N.Y. Dec. 7, 2011).


                                                  15
     Case 1:17-cv-07568-PGG-KHP Document 83 Filed 01/12/18 Page 16 of 25




       MiMedx contends that it has plausibly pleaded actual malice by alleging that Fichthorn

should have known the company was blameless because its leaders had told him so.

Specifically, MiMedx points to conversations between Fichthorn and company representatives

in which they asserted that sending products to customers who did not order them was a legal

“consignment” rather than improper channel-stuffing. (See Compl. ¶¶ 29-30; Doc. No. 46, Opp.

at 20-21.) But allegations that a speaker knew of a plaintiff’s denials of wrongdoing are

insufficient to establish actual malice because any other rule would allow public figures to stifle

criticism merely by denying accusations. As the Second Circuit has explained, “such denials are

so commonplace . . . that, in themselves, they hardly alert the conscientious [speaker] to the

likelihood of error.” Edwards v. Nat’l Audubon Soc’y, Inc., 556 F.2d 113, 121 (2d Cir. 1977).

Indeed, that Fichthorn talked to MiMedx management before making his comments shows

precisely the opposite of malice – that he considered its position before stating his views about

the import of the former employees’ allegations. See Cabello-Rondón v. Dow Jones & Co., No.

16-cv-3346 (KBF), 2017 WL 3531551, at *10 (S.D.N.Y. Aug. 16, 2017) (attempts to interview

plaintiff and his supporters negated any inference of purposeful avoidance of the truth).

Fichthorn was free to evaluate information he received from various sources when relaying his

views and information about MiMedx to the shareholder, and his knowledge of MiMedx’s

denial of misconduct therefore does not establish malice. See St. Amant v. Thompson, 390 U.S.

727, 731 (1968) (to show reckless conduct, “[t]here must be sufficient evidence to permit the

conclusion that the defendant in fact entertained serious doubts as to the truth of his

publication”).


                                                16
     Case 1:17-cv-07568-PGG-KHP Document 83 Filed 01/12/18 Page 17 of 25




        Thus, the defamation and slander claims against Fichthorn and BR Dialectic must be

dismissed because the alleged statements made by Fichthorn were protected opinion and

because MiMedx has failed to sufficiently plead actual malice. Because it is clear that dismissal

is warranted on these grounds, the Court does not address Fichthorn and BR Dialectic’s other

arguments for dismissal of these claims.

        B. False Light

        The parties dispute whether New York or Georgia law applies to MiMedx’s false light

claim. 3 The Court does not address the choice of law issue because the claim fails under both

states’ laws.

        New York does not recognize a tort for placing someone in a false light. Cruz v. Latin

News Impacto Newspaper, 216 A.D.2d 50, 51 (1st Dep’t 1995). So, the claim clearly fails under

New York law.

        To the extent Georgia law applies, this privacy-based cause of action is not viable when

the subject matter of the communication is a matter of a public investigation or public interest.

Cox Commc’ns v. Lowe, 328 S.E.2d 384, 385 (Ga. Ct. App. 1985). MiMedx is a public company

that was facing an SEC investigation and lawsuit. It therefore has no privacy interest in the

subject matter discussed, i.e., the allegations of channel stuffing, between Fichthorn and the



3
  The parties cite to New York law for the defamation and tortious interference claims and do not contest
application of New York law. With respect to the defamation claims, they agree there is no material difference
between Georgia and New York law. With respect to tortious interference with business relations, the Court notes
that Georgia law both includes and expands upon the elements required to state such a claim under New York law.
Compare 16 Casa Duse, LLC v. Merkin, 791 F.3d 247, 261 (2d Cir. 2015) with Metro Atlanta Task Force for the
Homeless, Inc. v. Ichthus Cmty. Trust, 780 S.E.2d 311 (Ga. 2015). Because the Court concludes, as detailed below,
that no claim for tortious interference has been stated under New York law, it follows that no such claim has been
stated under Georgia’s more stringent law. Therefore, the Court applies only New York law to these claims.
                                                         17
     Case 1:17-cv-07568-PGG-KHP Document 83 Filed 01/12/18 Page 18 of 25




shareholder. Id. at 385; see also Restatement (Second) of Torts § 652I, cmt. C (1977) (“A

corporation, partnership or unincorporated association has no personal right of privacy.”).

Georgia courts reject false light claims premised on statements about business entities, even

when brought by the individual business owners, because they do not involve personal privacy.

See, e.g., Jaillett v. Ga. Television Co., 520 S.E.2d 721, 727 (Ga. Ct. App. 1999) (affirming

dismissal of plaintiff’s false light claim: because the “broadcast related solely to the operation

of [plaintiff’s] business,” it “did not violate [plaintiff’s] right to be let alone”); S&W Seafoods Co.

v. Jacor Broad. of Atlanta, 390 S.E.2d 228, 231-32 (Ga. Ct. App. 1989) (same).

       Additionally, because Fichthorn only made his comments to one person, MiMedx

cannot satisfy the publicity element of the tort. Simpson v. Certegy Check Servs., Inc., 513 F.

App’x 843, 845-46 (11th Cir. 2013) (under Georgia law, no false light claim based on statement

made to one person); Ass’n Servs., Inc. v. Smith, 549 S.E.2d 454, 459 (Ga. Ct. App. 2001). Here,

there was no publicity regarding the communication between Fichthorn and the shareholder.

Rather, the communication was a private conversation between two investors. The

conversation would never have become public but for MiMedx raising it in this lawsuit.

       Moreover, the law is clear that a false light claim cannot be premised on statements

that are constitutionally privileged as opinions. See, e.g., Pierce v. Warner Bros Entm’t, Inc., 237

F. Supp. 3d 1375, 1380-81 (M.D. Ga. 2017). MiMedx cannot evade First Amendment

protections for speech by dressing up its slander and defamation claims as other torts such as

false light. See Hustler Magazine, Inc. v. Falwell, 485 U.S. 46, 51-56 (1988) (plaintiff cannot

evade First Amendment restrictions on defamation claim by pleading another tort); Farah v.


                                                  18
     Case 1:17-cv-07568-PGG-KHP Document 83 Filed 01/12/18 Page 19 of 25




Esquire Magazine, 736 F.3d 528, 540 (D.C. Cir. 2013) (First Amendment barred claims for false

light and tortious interference based on defendants’ non-defamatory speech).

       The cases on which MiMedx relies to resist dismissal are distinguishable. In Dubinsky v.

United Airlines Master Exec. Council, 708 N.E.2d 441 (Ill. App. Ct. 1999), an Illinois court

determined that false accusations of criminal conduct could be highly offensive to a reasonable

person where two individuals, as opposed to a public company, were the target of such false

accusations. Similarly, in Fanelle v. LoJack Corp., 79 F. Supp. 2d 558, 563 (E.D. Pa. 2000), an

individual plaintiff was “falsely labeled a criminal,” and in White v. Manchester Enter., Inc., 871

F. Supp. 934, 938 (E.D. Ky. 1994), an individual plaintiff was falsely characterized as having

“been jailed in Florida for fraud,” among other things. Moreover, the plaintiffs in all of these

cases adequately pleaded the element of actual malice, which, as discussed supra, MiMedx has

failed to do.

       Thus, the false light claim must be dismissed against Fichthorn and BR Dialectic.

       C. Tortious Interference With Business Relations

       To make out a claim for tortious interference with business relations, a plaintiff must

show that he had business relations with a third party, that the defendant intentionally

interfered with those business relations for a wrongful purpose or by using dishonest, unfair or

improper means, and that the defendant’s acts injured the relationship. Mi-Kyung Cho v. Young

Bin Café, 42 F. Supp.3d 495, 509 (S.D.N.Y. 2013). It is well established that a defendant has not

employed “wrongful means” when acting with a permissible purpose such as normal, economic

self-interest. 16 Casa Duse, 791 F.3d at 262 (citing Carvel Corp. v. Noonan, 818 N.E.2d 1100,


                                                 19
     Case 1:17-cv-07568-PGG-KHP Document 83 Filed 01/12/18 Page 20 of 25




1103 (N.Y. 2004)). Additionally, “[g]eneral allegations of interference with relationships with

stockholders, investors, and financiers, and the absence of any allegation of a specific

relationship, are fatal to the tortious interference with business relations claim.” Deer

Consumer Products, Inc., 2012 WL 5983641, at *3.

       The only relationship with which Fichthorn and BR Dialectic are alleged to have

interfered is with a single shareholder of MiMedx. The fact that this shareholder subsequently

sold his stock in MiMedx is insufficient to state a claim for tortious interference with a business

relationship. As the court recognized in Deer Consumer, there must be evidence of a more

specific contract or business relationship apart from stock ownership to sustain a claim. Id. Nor

are there facts that support an inference that Fichthorn was motivated solely by malice or to

inflict harm on MiMedx by unlawful means beyond self-interest or other economic

considerations. Thus, this claim also must be dismissed as against Fichthorn and BR Dialectic.

See Monex Fin. Servs., Ltd. v. Dynamic Currency Conversion, Inc., 878 N.Y.S.2d 432, 433 (2d

Dep’t 2009).

       The cases MiMedx cites in support of its claim are inapposite. In Rebecca Broadway Ltd.

P'ship v. Hotton, 143 A.D.3d 71, 77 (1st Dep’t 2016), the record contained evidence that a

defendant had injured the plaintiff’s business relationship “either through the use of wrongful

means” – specifically, the use of confidential information – “or with the sole purpose of

inflicting harm on [the plaintiff].” In Advanced Marine Techs., Inc. v. Burnham Sec., Inc., 16 F.

Supp. 2d 375, 385 (S.D.N.Y. 1998), as in this case, the plaintiff failed to demonstrate that the

defendant “intentionally caused the [third party] not to enter into” a business relationship with


                                                 20
     Case 1:17-cv-07568-PGG-KHP Document 83 Filed 01/12/18 Page 21 of 25




the plaintiff, and the tortious interference cause of action was accordingly dismissed. Finally, in

Balance Point Divorce Funding, LLC v. Scrantom, 978 F. Supp. 2d 341, 352 (S.D.N.Y. 2013), which

MiMedx cites solely for the proposition that tortious interference claims can arise in the

context of investor relationships, the plaintiff had alleged the existence of a specific business

relationship – namely, its funding negotiations with the relevant third party.

       MiMedx cites no case in which urging a stockholder of a publicly traded company to sell

his shares to new owners was held to constitute tortious interference to the business, which

would essentially claim interference between the business and itself. Moreover, it is

commonplace that investment advisors discuss negative news about public companies that may

impact the stock price. Sophisticated investors can accept or reject what they hear from

investment advisors. Permitting tortious interference claims in this context would turn Wall

Street norms on their head. See Hustler Magazine, Inc. v. Falwell, 485 U.S. 46, 51-56 (1988)

(plaintiff cannot evade First Amendment restrictions on defamation claim by pleading another

tort); Farah v. Esquire Magazine, 736 F.3d 528, 540 (D.C. Cir. 2013) (First Amendment barred

claims for false light and tortious interference based on defendants’ non-defamatory speech).

   Thus, the tortious interference claim against Fichthorn and BR Dialectic also must be

dismissed.

   3. Plaintiffs’ Request For Expedited Discovery As To Identity Of Viceroy

       MiMedx asserts claims of libel and defamation, false light, and tortious interference

with business relations against Viceroy. Plaintiff McCormack asserts claims of libel and

defamation against Viceroy. The represented Defendants have suggested that MiMedx’s claims


                                                 21
     Case 1:17-cv-07568-PGG-KHP Document 83 Filed 01/12/18 Page 22 of 25




against Viceroy fail as a matter of law. 4 None argue that McCormack’s claims against Viceroy

fail as a matter of law. To the extent that Viceroy published statements suggesting that

McCormack engaged in illegal activity at his prior employer, McCormack may be able to make

out a claim of libel per se. See footnote 1 supra. 5 Viceroy, however, is not represented. And,

Plaintiff McCormack does not know the identity of Viceroy.

        A Court may order early or expedited discovery upon a showing of good cause. Fed. R.

Civ. P. 26(d); Digital Sin, Inc. v. Does 1-176, 279 F.R.D. 239, 241 (S.D.N.Y. 2012). Discovery to

determine the identity of John Doe defendants has been found appropriate. adMarketplace,

Inc. v. Tee Support, Inc., No. 13-cv-5635 (LGS), 2013 WL 4838854, at *2 (S.D.N.Y. Sept. 11, 2013)

(granting expedited discovery to identify defendant in a defamation case); see also Arista

Records, LLC v. Doe 3, 604 F.3d 110 (2d Cir. 2010); Malibu Media, LLC v. John Does 1-11, No. 12-

cv-3810 (ER), 2013 WL 3732839 (S.D.N.Y. 2013) (same); John Wiley & Sons, Inc. v. Doe Nos. 1-

30, 284 F.R.D. 185, 189 (S.D.N.Y. 2012) (same). Because identifying the Defendant Viceroy by

name is necessary for Plaintiffs to advance their asserted claims, and because Plaintiff

McCormack may very well be able to make out a claim of defamation per se (and no Defendant

has argued otherwise), Plaintiffs have established good cause for some discovery. 6


4
  For the reasons set forth above, MiMedx’s claims against Viceroy may not survive a motion to dismiss filed by
Viceroy. This Court does not, however, make any finding or recommendations with respect to the appropriateness
of dismissal of the claims by MiMedx against Viceroy because Viceroy has not been served and has not filed a
motion to dismiss.
5
  This Court does not make any finding or recommendations with respect to the appropriateness of the dismissal of
the claims by McCormack against Viceroy because Viceroy has not been served and has not filed a motion to
dismiss.
6
  This Court acknowledges that courts have denied pre-answer discovery in which a party sought to learn the true
identity of Aurelius Value for the type of speech that MiMedx asserts was improper, but those cases involved
alleged defamation of a public company, not a private individual. See Aurelius v. BofI Fed. Bank, No. MC 16-71 DSF
(FFM), 2016 WL 8925145, at *6 (C.D. Cal. Sept. 20, 2016) (“BofI has not made the showing necessary to overcome
                                                         22
      Case 1:17-cv-07568-PGG-KHP Document 83 Filed 01/12/18 Page 23 of 25




        However, the discovery Plaintiffs seek from Sparrow, Fichthorn and BR Dialectic is

improper and likely won’t lead to the information Plaintiffs seek. All of the represented

Defendants who have made appearances in this matter have disclaimed knowledge of the

information Plaintiffs seek and provided affidavits to that effect. Instead, this Court will permit

Plaintiff McCormack to serve a third-party subpoena pursuant to Federal Rule of Civil Procedure

45 on the Internet Service Provider associated with Viceroy’s Internet Protocol (IP) address, as

the Court is unaware of a viable alternative means of obtaining information sufficient to serve

process on Viceroy. See Malibu Media, No. 15-cv-4743, 2015 WL 5013874, at *1 (S.D.N.Y. Aug.

18, 2015). To protect the subscriber associated with the relevant Viceroy IP address from

harassment or unnecessary embarrassment, the limited discovery being permitted is subject to

the following conditions:

             •   The subpoena may seek defendant Viceroy’s name and address only. Plaintiff
                 shall not seek defendant’s email address or telephone number by subpoena or
                 otherwise.
             •   Plaintiff may use Viceroy’s name and address for the purpose of this litigation
                 only. Plaintiff shall not disclose, or threaten to disclose, defendant’s name,
                 address, or any other identifying information (other than defendant’s IP address)
                 that Plaintiff may subsequently learn.
             •   Defendant Viceroy, once identified, will be permitted to litigate this case
                 anonymously unless and until this Court orders otherwise, after Defendant has
                 had notice of and an opportunity to challenge the proposed disclosure.
                 Therefore, Plaintiff shall not publicly file any of defendant Viceroy’s identifying
                 information, beyond his or her IP address, and must file all documents
                 containing such identifying information under seal.
             •   Plaintiff shall serve a copy of this Order upon the ISP along with the subpoena.
             •   Within 60 days of the date of service of the Rule 45 subpoena upon it, and at
                 least 60 days before providing any responsive information to plaintiff, the ISP


Aurelius’s right to anonymity as preserved by the First Amendment to the United States Constitution.”); Transcript,
BofI Fed. Bank v. Seeking Alpha, Inc., No. 1:16-MC-00025 (S.D.N.Y. Mar. 14, 2016), Dkt. 27 (granting motion to
quash subpoena seeking identity of Aurelius Value).
                                                         23
    Case 1:17-cv-07568-PGG-KHP Document 83 Filed 01/12/18 Page 24 of 25




              shall serve Defendant Viceroy with a copy of the subpoena and a copy of this
              Order. The ISP may serve Defendant Viceroy using any reasonable means,
              including written notice sent to his or her last known address, transmitted by
              first class mail or overnight service.
          •   Defendant Viceroy shall have 60 days from the date of service of the Rule 45
              subpoena and this Order upon him or her to file any motions contesting the
              subpoena (including a motion to quash or modify the subpoena), as well as any
              request to litigate the subpoena anonymously. The ISP may not turn over the
              identifying information of Defendant Viceroy to Plaintiff McCormack before the
              expiration of this 60-day period. Additionally, if Defendant Viceroy or the ISP
              files a motion to quash or modify the subpoena, or a request to litigate the
              subpoena anonymously, the ISP may not turn over any responsive information to
              Plaintiff McCormack until the issues have been addressed and the Court issues
              an order.
          •   The ISP shall preserve any subpoenaed information pending the resolution of
              any timely-filed motion to quash.
          •   The ISP shall confer with Plaintiff McCormack and shall not assess any charge in
              advance of providing the information requested in the subpoena. If the ISP
              receives a subpoena and elects to charge for the cost of production, it shall
              provide a billing summary and cost report to Plaintiff McCormack.

                                        CONCLUSION

       For the reasons set forth above, this Court recommends that Sparrow’s Motion to Dismiss

(Docket No. 33) be GRANTED and Sparrow dismissed as a Defendant in this matter; that Fichthorn

and BR Dialectic’s Motion to Dismiss (Docket No. 38) be GRANTED and that these Defendants be

dismissed from this matter. This Court recommends that the Motion for Expedited Discovery

(Docket No. 14) be GRANTED IN PART AND DENIED IN PART.

       SO ORDERED.

Dated: January 12, 2018
       New York, New York
                                                  ______________________________
                                                  KATHARINE H. PARKER
                                                  United States Magistrate Judge



                                             24
     Case 1:17-cv-07568-PGG-KHP Document 83 Filed 01/12/18 Page 25 of 25




NOTICE

The parties shall have fourteen days from the service of this Report and Recommendation to
file written objections to the Report and Recommendation, pursuant to 28 U.S.C. § 636(b)(1)
and Rule 72(b) of the Federal Rules of Civil Procedure. See also Fed. R. Civ. P. 6(a), (d) (adding
three additional days only when service is made under Fed. R. Civ. P. 5(b)(2)(C) (mail), (D)
(leaving with the clerk), or (F) (other means consented to by the parties)).

If any party files written objections to this Report and Recommendation, the opposing party
may respond to the objections within fourteen days after being served with a copy. Fed. R.
Civ. P. 72(b)(2). Such objections shall be filed with the Clerk of the Court, with courtesy copies
delivered to the chambers of the Honorable Paul G. Gardephe at the United States
Courthouse, 500 Pearl Street, New York, New York 10007, and to any opposing parties. See 28
U.S.C. § 636(b)(1); Fed. R. Civ. P. 6(a), 6(d), 72(b). Any requests for an extension of time for
filing objections must be addressed to Judge Gardephe. The failure to file these timely
objections will result in a waiver of those objections for purposes of appeal. See 28 U.S.C. §
636(b)(1); Fed. R. Civ. P. 6(a), 6(d), 72(b); Thomas v. Arn, 474 U.S. 140 (1985).




                                                25
